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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL

  MIGUEL CARRERA, JR. and                              §
  JASMINE NOL, Individually                            §
  and As Next Friend of                                §
  A.C., a minor                                        §
                Plaintiff,                             §      CAUSE NO. 2:19-CV-36
                                                       §
         v.                                            §
                                                       §
  TEXAS DEPARTMENT OF CRIMINAL                         §
  JUSTICE, UNIVERSITY OF TEXAS                         §
  MEDICAL BRANCH AT GALVESTON,                         §
  ROBERT STEVENS, Individual Capacity,                 §
  GUARD 1, Individual Capacity,                        §
  GUARD 2, Individual Capacity                         §

                        PLAINTIFFS’ FIRST AMENDED COMPLAINT

              Miguel Carrera, Jr., Individually and as Next Friend of A.C., a minor and Jasmine Nol,

  Individually and as Next Friend of A.C., a minor brings this their suit against Texas Department

  of Criminal Justice (“TDCJ”), University of Texas Medical Branch at Galveston (“UTMB”),

  Robert Stevens (“Warden Stevens”), in his individual capacity for official actions as the former

  warden of Texas Department of Criminal Justice’s Skyview Unit, Guard 1 (“Guard 1”), in his

  individual capacity, and Guard 2 (“Guard 2”), in his individual capacity.

                                           Nature of Case

         1.      Miguel Carrera, Jr., 22, has suffered schizophrenia since he was a teen. On or about

  February 12, 2017, while incarcerated at Texas Department of Criminal Justice’s Skyview Unit,

  Mr. Carrera was left unmonitored with a spoon in his cell while in a severe psychotic episode. Mr.

  Carrera removed his right eye with a spoon and severally damaged his left eye in an attempt to

  remove it as well. Mr. Carrera is permanently blind.
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         2.      Mr. Carrera brings suits against the warden and two guards in their individual

  capacity for their official conduct under color of law for subjecting him, a mentally disabled

  person, to cruel and unusual punishment as prohibited by the Eighth Amendment and Fourteenth

  Amendment to the United States Constitution. In addition, Mr. Carrera brings suit against TDCJ,

  UTMB, Warden Stevens, Guard 1 and Guard 2 for the violation of Title II of the Americans with

  Disabilities Act and Rehabilitation Act for subjecting him to cruel and unusual punishment as

  prohibited by the Eighth and Fourteenth Amendments.

                                        Juridiction and Venue

         3.      This Court has jurisdiction over this suit pursuant to 28 U.S.C. §§ 1331. The Court

  has personal jurisdiction over the individual defendants because they were residents of Texas at

  the time of the events made the basis of the suit. The Court has personal jurisdiction over the state

  defendants because sovereign immunity is abrogated in this suit. Venue of this suit is proper in

  the United States District Court for the Eastern District of Texas pursuant to 28 U.S.C. § 1391(b)(2)

  because a substantial part of the events or omissions giving rise to the claim occurred at Skyview

  Unit in Rusk, Cherokee County, Texas.

                                                Parties

         4.      Plaintiff, Miguel Carrera, Jr., is a resident of Harris County, Texas. He is the spouse

  of Jasmine Nol. He is the father of A.C.

         5.      Plaintiff, Jasmine Nol, is a resident of Harris County, Texas. She is the spouse of

  Miguel Carrera, Jr. She is the mother of A.C.

         6.      Defendant, Texas Department of Criminal Justice, is a department of the State of

  Texas. It may be served with summons through its executive director: Bryan Collier, 209 West

  14th Street, 5th Floor, Price Daniel Building, Austin, Texas, 78701.



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          7.    University of Texas Medical Branch is a political subdivision of the state. It may

  be served with summons through the executive director: David L. Callender, M.D., M.B.A., FACS,

  301 University Blvd., Suite 6.100 Administration Building, Galveston, Texas, 77555-0129.

          8.    Defendant, Robert Stevens, is a resident of Brownwood, Brown County, Texas. He

  was the warden of Skyview Unit during the events made the basis of the suit. He may be served

  with summons at: 4201Austin Avenue, Brownwood, Texas 76801.

          9.    Defendant, Guard 1, was a resident of Texas at the time of the incident. There is

  insufficient information for service of summons.

          10.   Defendant, Guard 2, was a resident of Texas at the time of the incident. There is

  insufficient information for service of summons.

                             Exhaustion of Administrative Remedies

          11.   On June 30, 2017, Mr. Carrera submitted a written grievance to Warden Stevens.

                                               Notice

          12.   On June 30, 2017, Mr. Carrera notified the Texas Office of Attorney General and

  Warden Stevens in writing of the facts of the claim and intent to bring a claim for compensation.

  On January 31, 2019, Mr. Carrera provided written notice of his claim and a signed authorization

  form for release of protected health information to UTMB.

                                               Facts

          13.   Miguel Carrera, Jr., 22, has suffered from schizophrenia since he was a teen.

  Schizophrenia is a chronic and severe mental disorder that interferes with a person’s ability to

  think clearly, manage emotions, make decisions, and relate to others. A person with schizophrenia

  experiences hallucinations and paranoid delusions which are very real to the person experiencing

  them.



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         14.     In 2014, Mr. Carrera’s mental illness caused him to attack a security guard resulting

  in probation. Mr. Carrera’s mental illness makes him prone to violence directed towards himself.

  In one episode documented in his criminal and medical records, Mr. Carrera swallowed a taser

  that the police shot him with in order to gain control over him. Mr. Carrera’s violent psychotic

  episodes are documented in his criminal and medical records.

         15.     While on probation in December 2016, Mr. Carrera experienced another psychotic

  break. He began stabbing and slicing himself with a knife. His wife called the police. As a result

  of his previous failure to meet requirements of his probation, the court revoked the probation and

  sent him to state prison on January 5, 2017.

         16.     On February 3, 2017, the Texas Department of Criminal Justice transferred Mr.

  Carrera from Gurney Unit to Skyview Unit because he was experiencing obvious signs of

  schizophrenia. At some point during his incarceration, Mr. Carrera had attempted to harm himself

  through strangulation according to what the Skyview Unit guards advised the EMS technicians

  who were called to the scene on February 12. This fact was not found to be documented in his

  Skyview Unit records.

         17.     On or about February 3, a healthcare provider ordered screening for HIV, syphilis

  and tuberculosis as well as immunizations for tetanus and diphtheria. On February 7 at 1:48 pm

  the Inpatient RN Assessment form noted that Carrera was “less than cooperative not answering

  questions and will not say if he will continue to try to harm self or not” and “mumbles, not

  answering question.” EMS records from February 12 state that Mr. Carrera had been banging his

  head on February 7.

         18.     The next morning on February 8, Carrera was scheduled for an intake physical.

  That morning at 9:36 am, the lab reported by facsimile that Carrera was negative for tuberculosis.



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  Ten minutes later Carrera was discharged from seclusion on the basis that, “Offender states he is

  not going to harm self and would like to go back to house. Denies A/V hallucinations and taught

  of harm to self and others. Calm and cooperative with staff and security.” The form stated,

  “Release criteria (patient informed): No longer exhibiting behaviors described above”. The nurse

  practitioner ordered that his materials should be limited to blanket, johnnie sacks, and legal

  materials without sharps. Staff to continue monitoring per D-Pod protocol. D-Pod is the crisis

  management wing of Skyview Unit.

         19.     The Correctional Managed Health Care Policy Manual for Suicide Prevention

  defines Crisis Management as:

           A status ordered by a QMHP for an offender who is determined to be at imminent risk of
           significant self-injury or suicide. The offender is to be placed in a specially prepared and
           approved cell. Offenders in Crisis Management are observed for psychiatric symptoms
           at least every fifteen minutes by medical/MH staff or a CO with special training at the
           Inpatient Psychiatric Facility.


         20.     At 11:57 am, the nurse practitioner prescribed a 2 milligram risperidone tablet, a

  medication to treat schizophrenia, twice daily for Carrera.

         21.     The Health Summary for Classification dated February 8, 2017 at 1:03 pm stated

  that there were no restrictions for the facility, housing, row, and bunk assignments. There were no

  restrictions for disciplinary process nor an individualized treatment plan. Although there was a

  space to indicate a work assignment restriction based for psychiatric reasons, it was not checked.

         22.     On the same day that Carrera was allegedly cooperative, non-symptomatic and

  stated he would not harm himself; Carrera was refusing to consent to mental health services and

  to take the prescribed risperidone. He refused to sign 3 forms presented to him regarding his

  refusal to receive mental health services and psychiatric medication. This continued to be the case

  on February 9 and 10. There are no medical records for February 11, a Saturday.


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         23.     On or about February 12, 2017, after suffering uncontrollable fear from the

  hallucination and desiring to end the horrible experience, Mr. Carrera removed his left eyeball

  completely from the eye socket with a spoon. This included severing all of the muscles, blood

  vessels, nerves, ligaments and connective tissue connecting the eyeball to the eye socket. The

  eyeball fell to the floor according to Mr. Carrera’s recollection. In reality it was hanging down his

  face barely attached by the optic nerve. After, Mr. Carrera performed a self-enucleation of the left

  eye, he started the same procedure on his right eye. Mr. Carrera was unable to completely remove

  his second eyeball, but he caused sufficient damage in the process to cause permanent blindness

  in his right eye. Specifically, he tore off the cataract and retina and ruptured the globe. When a

  guard finally passed by Mr. Carrera’s cell, he witnessed Mr. Carrera crawling around on the floor

  searching for his left eyeball according to Mr. Carrera’s recollection.

  8:40 a.m. February 12, 2017

         24.     A report made by a healthcare provider after the event states that a guard discovered

  Mr. Carrera lying in bed with a bloody face. The report notes that Mr. Carrera was possessing a

  plastic spoon with blood on it. The guard claims he had checked for “responsiveness” only from

  Mr. Carrera around 6:30 am and did not notice that there was a problem. According to the author

  of the report, the healthcare providers were notified at 8:40 a.m. The report stated that Mr. Carrera

  had 0% compliance with his medication as of that date. A lab reports shows a glucose fingerstick

  was performed at 8:45 a.m. A glucose test is used to check for brain injury during treatment of a

  trauma.

         25.     Skyview Unit called EMS to transport Mr. Carrera to a hospital.

  8:52 a.m. February 12, 2017




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         26.     According to statements made by the Skyview Unit employees to the EMS

  technicians who provided emergency medical services to Mr. Carrera at the prison at 8:52 a.m.,

  the employee stated that Mr. Carrera suffered from schizophrenia. It was stated that he was

  prescribed 2 mg of Risperdal, a mediation to treat schizophrenia. The medics noted that the left

  globe was hanging out of the socket, the right had swelling and apparent trauma and a hematoma

  to the right posterior of skull.   In addition, the medics noted bleeding from the left eye.     The

  medics’ narrative stated, in pertinent part:

         …Patient AOx1 out of 4 (oriented to person only; not place, time, or event; baseline for
         patient per prison staff). Skyview Prison infirmary staff stated that the patient had used a
         spoon to remove his left eye, and the patient stated that he had also tried to remove his right
         eye with the spoon. Patient stated internal “voices” told him to remove his eyes with a
         spoon. Skyview prison staff stated that they found the spoon with blood on it in the
         patient’s cell. The time of the injury is unknown – patient first stated that he did it this
         morning, then stated that he did it 2 days ago, then stated last night. Patient had been
         responsive 6:30 a.m. when the correctional officers check on the patient, but they said that
         his eyes had not been checked at 6:30 a.m. (it was only checked that he was alert). There
         was a belief by prison staff that the injury was likely to have occurred this morning after
         6:30 a.m. and closer to 8:30 a.m. when he was found with the eye injury by Skyview Prison
         correctional officers. The patient was also reported to have been possibly banging his head
         against a wall last night or this morning. The patient has a history of head banging (another
         recent head banging episode documented from February 7 on patient’s prison paperwork).
         Patient denied any pain. Patient stated that he is completely unable to see out of either
         eye…. Provided Abbreviated Hospital Report and verbal report to RN and MD and patient
         was transferred [“to ETMC-Tyler, closest appropriate level one trauma facility”]…
         2/12/2017 09:51 Facility Acceptance Employee – W. RN, Cassi

         The Abbreviated Hospital Report provided by the first responders stated, “Meds: Risperdal

  only, but pt refused to take.”

  9:55 a.m. on February 12, 2017

         27.     The initial nurse assessment entered by Cassi L. Wilbur, R.N. stated:

         Pt- T2 via stretcher from EMS ad in custody of Skyview after attempting “to remove both
         his eyeballs with a plastic spoon” per report. Per EMS (and confirmed by guards), pt has
         extensive psychiatric history with previous diagnosis of schizophrenia with self-harming
         behaviors/self-mutilation. Pt received in TDCJ shackles/chains in NAD. Gauze removed
         from eye by MD Kauffman for assessment. R eye swollen shut with scant SS drainage


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         from outer canthus. L eye globe protruding from socket; eye globe dry on arrival; rinsed
         with NS per orders; pupil nonreactive, without sensation per pt. Pt also has palpable
         hematoma to R side of skull ‘where was banging it’ per pt. Laceration & abrasions at wrist
         sites mostly healed with dry, flaky skin. No other visible or palpable injuries. Pt is fully
         oriented, Speech is clear. Pt reports voices telling him to hurt himself; “they told me to
         get my eyes out of my head.” Pt reports voices never subsides. Pt denied that voices are
         telling him to harm himself or others at this time. Pulse is regular. Resps even and
         unlabored. Lungs CTA. No crepitus. Abdomen soft, non-tender. Pelvis is stable. (+) BS
         x4. Skin warm and dry. Mucous membranes pink and moist. POC and safety reviewed.
         Pt nodded to indicate understanding; will reinforce as necessary. Guards remain ABS for
         patient safety.

         The Assessment report ordered 1:1 observation. The Assessment notes that he has self-

  harming behaviors and thoughts of self-harm.

         28.     The Emergency Room doctor’s notes states, in part: “Pt. a resident @ Skyview –

  criminal psych. H/O schizophrenia, non compliance and self injury. States he was hearing voices

  telling him to hurt himself, was able to conceal a spoon which he used to remove his L eyeball and

  attempted the same on his R eyeball although was not able to completely remove it. Spoon was

  found in room w/pt. per…b/w 0630-0830 min today…enucleation of L eye globe and ruptured

  globe R.”

  10:43 am on February 12, 2017

         29.     The preliminary CT scan of the head noted: (1) subcutaneous emphysema in the

  soft tissues of the face and neck; (2) intracalvarial soft tissue swelling posteriorly on the right and

  more severe toward the vertex where it measured 2.8 cm; and (3) absence of the right globe and

  left globe contains hyper density and is propotic.

  11:13 a.m. on February 12, 2017

         30.     Dr. Adam Dossey, an ophthalmologist, consultation notes provide, in part:

         CHIEF COMPLAINT: Self-directed injury to both eyes. HISTORY OF PRESENTING
         ILLNESS: The patient is a 21-year-old Hispanic male who was admitted to the mental
         health inpatient psychosocial facility in Rusk approximately seven days ago. This patient
         has a history of schizophrenia as well as bipolar disorder. Per the report, about five days


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             ago the patient had a suicidal attempt with strangulation attempt. The patient was found
             today after self-mutilation of both globes. The left globe was found to be exterior to his
             upper and lower eyelids. The right globe had severe mutilation and exposed sclera at the
             palpebral fissure but the globe was inside the orbit. This was presumed to be done by
             possibly a spoon, per the report. The patient was taken from the unit into ETMC and is
             here for further evaluation.

             1:16 pm on February 12, 2017

             31.    Dr. Helen Markowski, a trauma and critical care surgeon, stated in her evaluation,

  in part:

              CHIEF COMPLAINT: Self-harm. HISTORY AND PHYSICAL: This is a 21-year-old
              male with a complicated past psych history, He presented to the ER. He is incarcerated
              at Skyview, apparently was in restraints for trying to choke himself and they could keep
              him in restraints for four hours and after this they were allowed to go to their cell. In his
              cell, he has a peanut butter and jelly sandwich usually and a spoon for whatever other
              food that they present to him and used the spoon to remove his eyes and was subsequently
              brought to ETMC. On imaging of his head, neck, chest, abdomen and pelvis, obvious
              bilateral globe rupture. Ophthalmology was called and plans bilateral enucleation. There
              is also a significant amount of subcutaneous emphysema air tracking along the planes
              that makes concerning for a tracheal injury. I see no potential etiology for this. It is
              possible that it came from his enucleation with his spoon’s connection to the maxillary
              sinus, but on the imaging of the CT head and neck….PAST MEDICAL HISTORY:
              Reportedly from his facility, he is not actually forthright with his diagnosis, but treated
              for PTSD in 2016, says he fell while he was skating. Seizure in 2015. PTSD 2016. There
              is some reports in the last couple of year where he has been hearing voices and in fact he
              heard voices for his episode today. He has also been admitted a couple of times for self-
              harm where he stabbed himself. He has a past medical history for polysubstance abuse
              as well. SOCIAL HISTORY: He has polysubstance abuse and he also says his mom is
              bipolar and schizoaffective and thinks that he may be schizophrenic as well. He did come
              with a DSM-IV diagnostic impression of unspecified schizophrenia from his institution.

  Surgery on Eyes on February 12, 2017

             32.    The surgery took five hours. The surgeon noted that there was evidence of the blunt

  trauma to the side of Mr. Carrera’s head. Dr. Dossey noted it was a very difficult surgery. During

  the middle of the surgery he requested additional help from another surgeon at the hospital. Dr.

  Dossey stated in his operative note, “Again, the disorganized nature of the right globe cannot be

  overstated. There was uvea intermixed with scleral contents. There was no cornea to be found.



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  There was an effort to undermine some of the conjunctiva to see if we could identify pieces and

  piece them back together as best possible. Again, chances of vision in the right eye are completely

  zero, and the patient will have to be enucleated at a later time.”   Dr. Dossey also noted that the

  conjunctiva of the left globe was extensively torn and the lateral rectus muscle was completely

  dehisced. There was a laceration completely across the globe. The left globe was removed.

         33.      On February 15, 2017, Jeffrey L. Pledger, RN notes patient asked, “Is there any

  way to save myself.” The nurse noted that Mr. Carrera requested twice more for help to save

  himself.

         34.      Mr. Carrera was discharged from ETMC on February 16, 2017 to the infirmary at

  Skyview Unit. He was re-admitted to UTMB-Galveston on February 23, 2017 for an eye implant

  for the right eye and assessment of left eye. He was noted to be on 6 milligrams Risperdal. This

  is contrast to the mere 4mg dose of Risperdal while at Skyview Unit which he was not taking

  because Skyview United did not apply enforced mediation for Mr. Carrera. The psychiatric

  evaluation at UTMB-Galveston noted that Mr. Carrera stated that he wanted to make the voices

  stop and he wanted to get better.

  35.    The Suicide Prevention Plan in the Texas Correctional Managed Health Care Policy

         Manual effective from August 23, 2016 to August 16, 2017 provides, in part:

             PURPOSE: To provide policy, defined procedures, and a program for identifying and
             responding to suicidal individuals. Prevention of suicide is the responsibility of Health
             Services staff as security and other correctional personnel.

             POLICY: A program exists to provide specialized programming, intervention, training
             and tracking for the prevention of offender suicide.

             I. DEFINITIONS:

             1. Mental Health Observation (MH obs): A status ordered by a Qualified Mental Health
             professional (QMHP) for an offender who is determined to be at risk of self-injury but is
             not actually suicidal or an imminent risk to do significant medical harm. The offender is


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         to be placed in a specially prepared and approved cell. Offender in MH Obs are observed
         for psychiatric symptoms at least every thirty minutes by medical/MH staff.

         2. Crisis Management: A status ordered by a QMHP for an offender who is determined
         to be at imminent risk of significant self-injury or suicide. The offender is to be placed
         in a specially prepared and approved cell. Offenders in Crisis Management are observed
         for psychiatric symptoms at least every fifteen minutes by medical/MH staff or a CO with
         special training at the Inpatient Psychiatric Facility.

         3. Constant and Direct Observation (CDO): A status in which an offender who is
         determined to require movement to Crisis Management is pending transport. IN CDO
         the offender is constantly observed by an officer who is close enough and has the means
         to intervene to prevent self-injury. Note: this status is not ordered by providers but is a
         function that security provides upon providers issuing an order for Crisis Management
         until the offender can be delivered to Crisis Management.

         III. Identification, Intervention and Referral.

         B. Offenders who are identified as “at risk” for suicide or self-injury will be evaluated
         immediately by a mental health or medical clinician. ….Suicidal offenders will be moved
         immediately to an environment in which offender safety is ensured, and constant and
         direct observation (CDO) can be maintained.

         D. An offender is appropriate for outpatient Mental Health Observation is:
         1. She/he has made no act of self-injury requiring ongoing medical attention.

         2. Behavior and/or mental status do not necessitate the use of physical restraint.

         3. Behavior and/or mental status do not necessitate enforced medication.

         4. The offender/patient is not acutely psychotic, acutely suicidal, severely depressed or
         otherwise seriously mentally ill.

         These offenders who do not meet the above criteria are inappropriate for Mental Health
         Observation and should be transferred immediately to a crisis management or inpatient
         facility. Offenders awaiting transfer to a crisis management facility must be held in a safe
         environment under constant and direct observation (CDO) until departure from the
         facility.

         IV. Constant and Direct Observation (CDO).

         A. Security officers will provide constant and direct observation according to Security
         Procedures.

         C. A QMHP when available, will assess all offenders in CDO at least once per day.
         Nursing will make rounds once per day.


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         VI. Housing Criteria for Mental Health Observation/Crisis Management.

         A. Any room or cell used for Mental Health Observation / Crisis Management must
            have the following:

         1. Adequate lighting.

         2. No exposed electrical outlets.

         3. Ability for the observer to see the entire room without entering.

         4. No fixtures which the offender may use to harm him/herself.

         5. Adequate ventilation during warm weather and adequate heat during the cold
         weather.

         C. Prior to use, all cells or rooms intended for use as Mental health Observation/Crisis
         Management areas must be visually inspected and approved by the Facility Warden,
         Supervising qualified mental health professional, Facility medical Director and Director
         if Nurses.

         VII. Care and documentation for offenders while in Mental Health Observation or
         Crisis Management.

         A. Clothing, mattress, blanket, eating utensils and legal material are allowed unless
         otherwise ordered by a QMHP. Offenders who are at risk for self-injury should not be
         permitted to possess items with which they may injure themselves. Offenders may be
         provided with agency approved “suicide” blankets in lieu of regular linen. Paper gowns
         must be provided if all clothing is removed. If the QMHP considers the paper gown to
         be contraindicated or dangerous to the patient, the offender will be placed on one to one
         observation.

         B. Offenders may not be denied possession of legal materials except under the
         following circumstances:

         1. Items with which the offender may harm him/herself, such as pencils, pens, paper
         clips and staples may be denied with written justification in the health record.

         C. Offenders in Mental health Observation must be visually checked a minimum of
         once every 30 minutes by mental health, medical staff or by security staff. Offenders in
         Crisis Management must be visually checked a minimum of once every 15 minutes by
         mental health staff, medical staff, or by a CO with special training at the Inpatient
         Psychiatric Facility.

         D. A QMHP will be notified if the offender’s mental status significantly deteriorates.


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         36.     Warden Stevens and the guards failed to directly and constantly monitor Mr.

  Carrera to prevent Mr. Carrera from removing and damaging his eyes. Further, Warden Stevens

  and the guards failed to make certain that Mr. Carrera did not have access to a spoon which could

  be used as a weapon of self-harm. These failures subjected Mr. Carrera to cruel and unusual

  punishment.

         37.     TDCJ and UTMB intentionally failed to protect Mr. Carrera, a disabled person,

  from cruel and unusual punishment. Mr. Carrera suffers from schizophrenia and psychosis which

  is a mental impairment that substantially limits numerous life activities. Mr. Carrera had a record

  of this impairment before prison and in prison including a suicide attempt five days earlier by

  strangulation while in custody of Skyview Unit. He also inflicted self-harm in the form of head

  banging for hours before the self-enucleation. He was clearly impaired because he was in a state

  of acute psychosis with suicidal ideation due to the mental illness of schizophrenia. TDCJ and

  UTMB deliberately under-staffed Skyview Unit in order to achieve unrealistic budget goals. This

  resulted in employees who were overworked and overtaxed in high anxiety and pressured filled

  jobs. TDCJ and UTMB intentionally failed and refused to provide constant and direct or even

  quarter hour monitoring for mentally ill inmates in need of monitoring.

         38.     UTMB and TDCJ, through its employees, intentionally discriminated against Mr.

  Carrera on the basis of his disability when they refused to implement the suicide prevention policy.

  Specifically, the employees of UTMB and TDCJ purposely withheld constant and direct

  monitoring or even every 15 or 30-minute monitoring of Mr. Carrera. The decision to not monitor

  Mr. Carrera but every few hours was deliberate because there was insufficient staff to conduct the

  monitoring.




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          39.     In addition, UTMB willfully under medicated Mr. Carrera in order to save on

  medical cost. In 2017, a year in which the legislature was in session, the state government was

  under pressure to cut the budget for medical care for inmates. The pressure was self-imposed

  because of Texas’ refusal to accept the Obamacare Medicaid expansion which would provide

  federal funds for prisoner’s medical care. In light of the tight budget, UTMB and TDCJ prescribed

  only 4mg of Risperdal for Mr. Carrera rather than an appropriate dose of 6 milligrams. Further,

  UTMB and TCDJ intentionally refused to force medicate Mr. Carrera. This resulted in saving

  money on medication. However, it left Mr. Carrera in a state of extreme self-harm psychosis as

  evidenced by the suicide attempts and self-harming behavior.

          40.     Further, UTMB and TDCJ intentionally provided Mr. Carrera with a utensil which

  should have been withheld under the suicide prevention policy and common sense.

          41.     The UTMB and TDCJ employees knew that Mr. Carrera was mentally ill and

  desired to harm himself. They knew he was unable to control himself because of his mental illness

  disability. UTMB and TDCJ’s employees’ actions amounted to intentional discrimination against

  Mr. Carrera due to his disability in that they purposefully, intentionally, and deliberately withheld

  basic mental health services provided for mentally ill prisoners while in the custody of the state.

  The employees were aware that by refusing to monitor Mr. Carrera, under medicating Mr. Carrera,

  and providing a utensil that could be used for self-harm to Mr. Carrera, all rendering him in a

  helpless state of psychotic desire to kill himself, that they were treating him differently than non-

  mentally ill patients.

                                     Violation of 42 U.S.C. 1983

          42.     The failure to constantly and directly monitor Mr. Carrera and permitting him

  access to a spoon resulted in a violation of Mr. Carrera’s right to not be subjected to cruel and



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  usual punishment as guaranteed by the Eighth Amendment of the United States Constitution. Mr.

  Carrera has a private right of action against the individual defendants for fair and just compensation

  for the deprivation of his constitutional right. “Every person, who under color of any statute,

  ordinance, regulation, custom or usage, of any State or Territory or the District of Columbia,

  subjects or causes to be subjected, any citizen of the United States or other person within the

  jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the

  Constitution and laws, shall be liable to the party injured in an action at law, suit in equity, or other

  proper proceeding for redress…”. 42 U.S.C. § 1983. Mr. Carrera seeks recovery from Warden

  Stevens, Guard 1 and Guard 2 for depriving him of his constitutional right to not be subjected to

  cruel and unusual punishment.

          43.     The right to not be subjected to cruel and unusual punishment was a clearly

  established right at the time Mr. Carrera blinded himself while experiencing hallucinations and

  paranoid delusions in the custody of the state. Warden Stevens, Guard 1 and Guard 2 deprived

  Mr. Carrera of the right to not be subjected to cruel and unusual punishment when they failed to

  directly and constantly monitor him and permitted him access to a spoon. There is no dispute that

  Mr. Carrera had access to a banned object. Further, the facts establish that the individual

  defendants were not monitoring Mr. Carrera because the removal of an eyeball, i.e., detaching it

  from all of the muscles, nerves, blood vessels, ligaments and connective tissues, with a spoon is

  an undertaking that requires time.

          44.     The individual defendants had actual knowledge that Mr. Carrera wanted to inflict

  serious self-harm or suicide, yet they proceeded with deliberate indifference in ignoring his threats

  of self-harm, refusing to stop him from hitting his head in an attempt to harm himself, failing to

  monitor him, and allowing him access to an object with which he inflicted serious and permanent



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  injury on himself. The individual defendants had actual knowledge that Mr. Carrera was mentally

  ill, experiencing hallucinations and paranoid delusions in a psychotic episode, and was unable to

  prevent harm to himself yet deliberately ignored him. The individual defendants also had actual

  knowledge that a spoon was an object that mentally ill offenders are not permitted to possess. Yet

  the individual defendants permitted Mr. Carrera to have access to it. Suicide and self-harm

  inflicted by a mentally ill offender is cruel and unusual punishment because it is the unnecessary

  and wanton infliction of pain and permanent impairment.

                     Individual Defendants not Entitled to Qualified Immunity

         45.      The individual defendants’ conduct of ignoring Mr. Carrera and permitting Mr.

  Carrera access to a utensil during an ongoing psychotic episode taking into account Mr.

  Carrera’s recorded history of self-harm was not objectionably reasonable in light of the clearly

  established constitutional right to not be subjected to cruel and unusual punishment. The right to

  not be subjected to cruel and unusual punishment was so clearly established at the time of the

  incident that a reasonable official would understand that ignoring the threats of self-harm, acts of

  self-harm, failure to monitor, and allowing the mentally-ill-prisoner-with-a-documented-history-

  of-self-harm access to a tool of self-harm clearly violated Mr. Carrera’s constitutional right to

  not be subjected to cruel and unusual punishment. The facts demonstrate that the individual

  defendants’ actions were either plainly incompetent or they knowingly violated Mr. Carrera’s

  Eighth Amendment rights. In other words, all reasonable officials under the same circumstances

  would have known that the above-described conduct violated Mr. Carrera’s right to not be

  subjected to cruel and unusual conduct.

               Violation of Title II of Americans with Disabilities Act and Rehabilitation Act




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         46.     The Americans with Disabilities Act defines a disability as a physical or mental

  impairment that substantially limits one or more major life activities, a record of such impairment,

  or a determination of having an impairment. Similarly, the Rehabilitation Act of 1973 prohibits

  discrimination on the basis of the disability in programs receiving federal financial assistance.

  Title II of the ADA provides that “no qualified individual with a disability shall, by reason of such

  disability, be excluded from participation in or be denied the benefits of the services, programs, or

  activities of a public entity, or be subjected to discrimination by such entity.” 42 U.S.C. § 12312.

  TDCJ and UTMB intentionally discriminated against Mr. Carrera through its policy, custom and

  practice of deliberately under-staffing the prison.       Offenders with schizophrenia who are

  experiencing psychotic episodes and threatening self-harm require constant monitoring and direct

  supervision so that immediate action may be taken to prevent self-harm or suicide. TDCJ and

  UTMB had an insufficient number of employees to properly monitor for the crisis occurrence or

  provide constant monitoring during the crisis given the number of offenders at Skyview Unit. As

  a result, UTMB and TDCJ made a deliberate decision to only monitor Mr. Carrera every two hours.

  This decision, along with the decision to under-medicate Mr. Carrera plus allowing him access to

  a spoon, proximately caused Mr. Carrera to blind himself. TDCJ and UTMB are vicariously liable

  for the acts and omissions of its employees and policymakers. Delano-Pyle v. Victoria County,

  Texas, 302 F.3d 567 (5th Cir. 2002).

         47.     Further, UTMB and TDCJ purposely prescribed too low of a dose of medication to

  treat schizophrenia and intentionally did not force Mr. Carrera to take the medication. Further,

  UTMB and TDCJ deliberately gave Mr. Carrera a spoon. The intentional discrimination violated

  Mr. Carrera’s Eighth Amendment right to not be subjected to cruel and unusual punishment which

  is a right incorporated in Section 1 of the Fourteenth Amendment.



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          48.    The UTMB and TDCJ employees knew that Mr. Carrera was mentally ill and

  desired to harm himself. They knew he was unable to control himself because of his mental illness

  disability. UTMB and TDCJ’s employees’ actions amounted to intentional discrimination against

  Mr. Carrera due to his disability in that they purposefully, intentionally, and deliberately withheld

  basic mental health services provided for mentally ill prisoners while in the custody of the state.

  These actions were carried out for a week before Mr. Carrera blinded himself with the spoon, so

  they amount to more than an isolated act of negligence by government employees. The employees

  were aware that their acts amounted to treating Mr. Carrera differently than non-mentally ill

  patients.

                      UTMB and TDCJ not Entitled to Sovereign Immunity

          49.    UTMB and TDCJ are subdivisions or departments of the state. However, they are

  not entitled to sovereign immunity for violation of Title II of the American with Disabilities Act

  because Mr. Carrera’s right to be free from cruel and unusual punishment is protected not only

  under the Eighth Amendment but also under Part 1 of the Fourteenth Amendment. United States

  v. Georgia, 546 U.S. 151 (2006).

          50.    Further, the acceptance of federal financial aid to pay student tuition amounts to

  abrogation of sovereign immunity for a state entity. 42 U.S.C. § 42 U.S.C. § 2000d-7. Bennett-

  Nelson v. La. Board of Regents, 431 F.3d 448 (5th Cir. 2005, cert. denied). UTMB receives federal

  funds for the tuition payment of its medical students and federal grants for medical research.

                                               Damages

          51.    The defendants’ deprivation of Mr. Carrera’s constitutional rights and the

  defendants’ violation of the American with Disabilities Act and Rehabilitation Act directly,




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  proximately and in fact caused the following damages to which Mr. Carrera is entitled to under

  the law:

               a. Physical pain and mental anguish sustained in the past;

               b. Physical pain and mental anguish that, in reasonable probability, Mr. Carrera will
                  suffer in the future;

               c. Physical impairment in the past;

               d. Physical impairment that, in reasonable probability, Mr. Carrera will suffer in the
                  future;

               e. Loss of earning capacity sustained in the past;

               f. Loss of earning capacity that, in reasonable probability, Mr. Carrera will suffer in
                  the future;

               g. Disfigurement sustained in the past;

               h. Disfigurement that, in reasonable probability, Mr. Carrera will suffer in the future;

               i. Medical care expenses incurred in the past; and

               j. Medical care that, in reasonable probability, Mr. Carrera will suffer in the future.

         52.      Ms. Nol is entitled, under the private right of action provided by § 1983 and under

  Texas tort law as a derivate claimant, the following:

               a. Loss of household services sustained in the past;

               b. Loss of household services that, in reasonable probability, Ms. Nol will suffer in
                  the future;

               c. Loss of consortium sustained in the past; and

               d. Loss of consortium that, in reasonable probability, Ms. Nol will suffer in the
                  future.

         53.      The physical injury to Mr. Carrera was a serious, permanent and disabling injury.

  A.C. is entitled, under the private right of action provided by § 1983, and under Texas tort law as

  a derivate claimant, the following:


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               a. Loss of consortium services sustained in the past; and

               b. Loss of consortium that, in reasonable probability, A.C. will suffer in the future.


                                                Punitive Damages


         54.           The individual defendants’ deprivation of Mr. Carrera’s constitutional right to not

  be subjected to cruel and unusual punishment was committed with reckless and callous disregard

  for his rights. The defendants’ violation of the ADA was intentionally committed.              Therefore,

  the plaintiffs seek punitive damages.

                                                      Prayer

         55.           The plaintiffs pray that the defendants be summoned and answer to this Complaint,

  and that the plaintiffs have and recover from the defendants the following:

               i.         Actual damages;

               ii.        Statutory damages;

               iii.       Punitive damages;

               iv.        Reasonable cost of the necessary legal services pursuant to 42 U.S.C. § 1988(b)
                          and 42 U.S.C. § 12205;

               v.         Expert fees pursuant to 42 U.S.C. § 1988(c) and 28 U.S.C. § 1920;

               vi.        Costs pursuant to 28 U.S.C. § 1920;

               vii.       Interest pursuant to 28 U.S.C. § 1961; and

               viii.      All other relief to which the plaintiffs are entitled.

                                                               Respectfully submitted,

                                                               The Greenwood Prather Law Firm, PLLC


                                                               By: /s/ Kelly G. Prather
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  I certify that I served Plaintiffs’ First Amended Petition on all attorneys of record as set-forth
  below through ECF on this the 15th day of July, 2019 in accordance with the Federal Rules of
  Civil Procedure.

                                                        /s/ Kelly G. Prather
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